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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                  CRIMINAL NO. 12-295 PAM/AJB

       Plaintiff,

v.                                                                                    ORDER

1) ERIC WADE FORCIER,
2) JULIE ANN CAMPANA,

       Defendants.


       The above matter came on before the undersigned upon the Defendant Forcier’s

unopposed Motion for Extension of Time to File Pretrial Motions and Pretrial Schedule

[Docket No. 23].

       The Court, being duly advised in the premises, upon all of the files, records and

proceedings herein, now makes and enters the following Order.

       IT IS HEREBY ORDERED that Defendant Forcier’s unopposed Motion for Extension

of Time to File Pretrial Motions and Pretrial Schedule [Docket No. 23]. is granted as follows:

       1.       Oral argument on all motions will be heard before Magistrate Judge Arthur

J. Boylan in Courtroom 9E of the U.S. Courthouse, 300 South Fourth Street, Minneapolis,

Minnesota on January 18, 2013, at 11:00 a.m.

       2.       Motions shall be filed on or before January 11, 2013.

       3.       Voir Dire and Jury Instructions shall be filed with U.S. District Judge Paul A.

Magnuson’s Clerk on March 4, 2013.

       4.       Trial will commence before U.S. District Judge Paul A. Magnuson on

March 11, 2013 in Courtroom 7D.
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       5.       Based upon the submission and representations of the parties, the Court finds

that the ends of justice are served by granting a continuance of the motion date. Therefore,

the time between January 2, 2013 and January 18, 2013 shall be excluded in computing

the time within which the trial in this matter must commence under the Speedy Trial Act

pursuant to 18 U.S.C. § 3161(h)(7)(A).


Dated: December 20, 2012

                                            s/ Arthur J. Boylan
                                            ARTHUR J. BOYLAN
                                            Chief United States Magistrate Judge
